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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE



 GELI WALLEY,                                     )
                                                  )
                           Plaintiff,             )
                                                  )
                v.                                )           Case No.
                                                  )
 YORK HOSPITAL,                                   )
                                                  )
                            Defendant             )


                     COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff GELI WALLEY, by and through the undersigned counsel, hereby complains

against Defendant as follows:

                                        INTRODUCTION

       1.      This is an action for violation of the Federal Emergency Medical Treatment and

Active Labor Act, 42 U.S.C. § 1395dd (hereinafter “EMTALA”), based on the failure to

stabilize, treat, admit, or appropriately transfer Plaintiff when she presented to the Defendant’s

emergency department on March 23, 2016.

                                         THE PARTIES

       2.      Plaintiff GELI WALLEY is an individual residing in the Town of York, County

of York, and State of Maine.

       3.      Defendant YORK HOSPITAL is a Maine nonprofit corporation organized,

existing, and conducting business in the State of Maine, with a principal place of business at 15

Hospital Drive in York, Maine.




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        4.      Upon information and belief, YORK HOSPITAL is a “participating hospital”

within the meaning of EMTALA, because it has entered into a provider agreement with the

Center for Medicare and Medicaid Services (“CMS”) under the Medicare statute, 42 U.S.C. §

1395cc.

                                 JURISDICTION AND VENUE

        5.      The Court has original Federal subject matter jurisdiction in this case pursuant to

28 U.S.C. § 1331.

        6.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(e) because Plaintiff

resides and Defendant conducts business in this district. Further, a substantial part of the events

or omissions alleged herein occurred in this judicial district.

                     STATUTORY REQUIREMENTS UNDER EMTALA

          7.    The Federal EMTALA statute, 42 U.S.C. § 1395dd, was enacted by Congress in

1986 to ensure that the general public could obtain emergency services as needed, without regard

for the ability to pay.

          8.    Under EMTALA, whenever an individual presents to a “dedicated emergency

department” of a participating hospital for treatment, that hospital must provide an appropriate

medical screening examination, without delay, to determine whether an emergency medical

condition exists.

          9.    YORK HOSPITAL is a dedicated emergency department within the meaning of

EMTALA and its regulations found at 42 C.F.R. § 489.24.

          10.   EMTALA defines “emergency medical condition” as: “A medical condition

manifesting itself by acute symptoms of sufficient severity,” including severe pain, “such that the

absence of immediate medical attention could reasonably be expected to result in – (i) Placing



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the health of the individual . . . in serious jeopardy; (ii) Serious impairment to bodily functions;

or (iii) Serious dysfunction of any bodily organ or part.”

         11.   In order to comply with EMTALA, a hospital’s screening examination must be

reasonably calculated to identify critical medical conditions that may be afflicting symptomatic

patients and provide that level of screening to all those who present with substantially similar

complaints.

         12.   When a hospital prescribes internal procedures for a screening examination, those

internal procedures must be followed.

         13.   If an emergency medical condition is found to exist, EMTALA requires a

participating hospital to provide necessary treatment to stabilize the emergency medical

condition, without delay, or to arrange for an appropriate transfer of the individual to another

hospital capable of treating the patient’s condition.

         14.   The above obligations under EMTALA apply regardless of whether the individual

presenting to the emergency department is a Medicare beneficiary.

         15.   An individual has been “stabilized” under EMTALA if, with respect to her

emergency medical condition, “no material deterioration of the condition is likely, within

reasonable medical probability, to result from or occur during the transfer of the individual from

a facility.”

                   FACTS ESTABLISHING A VIOLATION OF EMTALA

         16.   On March 23, 2016, Plaintiff Geli Walley was going out to dinner in Kittery,

Maine when she exited the car and experienced sudden weakness and blurriness in her left eye.

         17.   Ms. Walley tried to stand on her right leg, but it went completely numb and she

fell to the ground, disoriented.



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        18.      Ms. Walley recognized that she was having a stroke and asked to be driven to

YORK HOSPITAL. She had slurred speech and troubling moving her right hand en route to the

hospital.

        19.      Ms. Walley presented to the Emergency Department (“ED”) of YORK

HOSPITAL around 8:00 pm on March 23, 2016.

        20.      YORK HOSPITAL immediately initiated an acute stroke protocol and ordered a

non-contrast CT scan of the head.

        21.      Shortly after Ms. Walley arrived in the ED, YORK HOSPITAL had her sign a

form stating that she would be placed in “Outpatient Observation” status, rather than admitted as

an inpatient.

        22.      Under EMTALA, the placement of a patient in outpatient observation status does

not eliminate an ED’s obligations to provide an appropriate screening examination or stabilizing

treatment.

        23.      The results of Ms. Walley’s CT scan, which ruled out intracranial hemorrhage and

showed no evidence of acute infarct, were called in to the ED attending physician at 9:05 pm.

        24.      At the time Ms. Walley’s CT scan results were called in to YORK HOSPITAL’s

ED excluding an intracerebral hemorrhage, she was last known well within the past 3 hours.

        25.      YORK HOSPTIAL failed to stabilize Ms. Walley by giving her intravenous tissue

plasminogen activator (“tPA”).

        26.      YORK HOSPITAL did not prescribe any medication for Ms. Walley while she

was in the ED.

        27.      Ms. Walley does not have any contraindications against the use of tPA in acute

stroke patients.



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         28.   By 9:30 pm, still within three hours of when she was last known well, Ms. Walley

continued to experience partial visual hemianopia, and right leg drift, as well as continuous

headache and dizziness.

         29.   Ms. Walley’s stroke symptoms improved, but did not entirely resolve, after she

presented to the ED.

         30.   Around 10:00 pm, while she was still in “outpatient observation” status, Ms.

Walley suffered a recurrence of her stroke symptoms, which lasted for approximately 15-20

minutes, with right sided hand clenching, and leg and arm weakness “similar to her initial

complaint.”

         31.   Upon information and belief, YORK HOSPITAL is not a Joint Commission

certified primary or comprehensive stroke center.

         32.   YORK HOSPITAL was not capable of treating Ms. Walley’s persistent stroke

symptoms.

         33.   When Plaintiff’s stroke symptoms recurred on March 23, 2016, it should have

been clear to YORK HOSPITAL that Plaintiff required urgent transfer to a primary stroke center

capable of assessing whether she was a candidate for endovascular therapies or other treatment

for ischemic stroke.

         34.   Instead of transferring Ms. Walley to a stroke center capable of treating her

persistent symptoms, Ms. Walley’s primary care physician, Dr. James Gilroy, admitted her to

York Hospital on March 23, 2016 at 11:03 pm, and entered an order for an MRI/MRA of the

brain.

         35.   Although Dr. Gilroy entered admission orders on March 23, 2016 at 11:03 pm, he

did not complete Ms. Walley’s admission history and physical until the morning of March 25,



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2016, when the Assessment and Plan was: “Stroke, with fluctuating symptoms.” Dr. Gilroy

noted that Ms. Walley continued to show “slightly decreased finger appositions R,” as well as

ongoing headache.

        36.    Ms. Walley’s admitting diagnosis was “trans cerebral ischemic attack uns.”

        37.    Dr. Gilroy did not order a stat MRI/MRA of the brain at the time of admission,

even though Ms. Walley had persistent stroke symptoms.

        38.    Ms. Walley’s MRI/MRA of the brain was performed on March 24th for “acute

stroke symptoms”; the results showed an acute ischemic infarct/stroke in the watershed area of

the brain “between the ACA and MCA.”

        39.    The results of the MRI/MRA were called into Dr. Gilroy at 1:00 pm on March 24,

2016, which was more than 16 hours after Ms. Walley presented to the ED of YORK

HOSPITAL with acute stroke symptoms.

        40.    During the time that she was in “outpatient observation” status at YORK

HOSPITAL, Ms. Walley did not receive full and appropriate medical screening examinations to

determine the severity of her emergency medical condition, or whether transfer to a primary

stroke center was necessary.

        41.    Ms. Walley’s MRI/MRA on March 24th showed an “apparent absent flow-void in

the distal extracranial portion of the left ICA, just proximal to the petrosal segment, which I

suspect may be artifactual, as flow appears to be normal just proximal distal to the area. A CT

angiogram could be performed for more complete evaluation, however.”

        42.    By the time YORK HOSPITAL received the results of Plaintiff’s MRI/MRA on

March 24th, Defendant knew that Ms. Walley was likely suffering from left internal carotid

artery stenosis, which required urgent transfer to a receiving hospital capable of providing



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endovascular therapies or other treatment for ischemic stroke.

         43.    Ms. Walley had a neurology consult with Dr. Pantcho Maslinski following her

MRI/MRA on March 24, 2016, which confirmed “acute stroke in the left frontoparietal area,”

likely due to “embolic phenomena.” Dr. Maslinski recommended a carotid Doppler study, 2D

echo with bubble, and telemetry, but his consultation note does not mention the option of

transferring Plaintiff to a primary stroke center.

         44.    On March 25, 2016 at 7:57 am, Dr. Gilroy entered an order with a priority level of

“routine,” for a CT angiogram of Ms. Walley’s neck, with contrast.

         45.    By that time, Ms. Walley had been told she would be discharged from YORK

HOSPITAL.

         46.    In the middle of the day on March 25, 2016, YORK HOSPITAL performed a CT

angiogram of Ms. Walley’s neck and found a possible dissection injury of her left internal

carotid artery, which warranted further evaluation.

         47.    In addition, the CT angiogram showed “occlusion or a high grade stenosis at the

level of the petrous portion of the left internal carotid artery.”

         48.    The above CT angiogram results were called in to Dr. Gilroy at 2:45 pm and

reviewed with consulting neurologist Dr. Maslinksi in person.

         49.    After Dr. Gilroy received the results of Ms. Walley’s CT angiogram at 2:45 pm

on March 25, 2016, he did not arrive at YORK HOSPITAL to discuss Plaintiff’s treatment plan

for approximately three hours.

         50.    On the day in question (March 25, 2016), Dr. Gilroy was either going on or

returning from vacation.

         51.    Once Dr. Gilroy arrived at YORK HOSPITAL on March 25, 2016, he signed an



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order to transfer her to Beth Israel Deaconess Medical Center in Boston, Massachusetts

(“BIDMC”).

          52.   On March 25, 2016 at 7:00 pm, Dr. Gilroy’s patient transfer order stated that

Plaintiff needed: “further evaluation of LIC abnormality, possible stenting.” Dr. Gilroy checked

off: “Obtain level of care not available at this facility.”

          53.   Ms. Walley had another stroke while waiting at YORK HOSPITAL to be

transferred to BIDMC.

          54.   Due to Plaintiff’s ongoing unstable condition, she could not make the trip to

Boston and YORK HOSPITAL instead transferred her to Maine Medical Center.

                                          COUNT I
                                    VIOLATION OF EMTALA

          55.   Plaintiff repeats the allegations contained in Paragraphs 1 through 54 of her

Complaint as if fully set forth herein.

          56.   When Ms. Walley presented to YORK HOSPITAL on March 23, 2016, she was

suffering from an emergency medical condition within the meaning of EMTALA.

          57.   YORK HOSPITAL failed to provide an appropriate medical screening

examination of Plaintiff’s stroke symptoms in a timely manner, in violation of EMTALA.

          58.   YORK HOSPITAL failed to stabilize Plaintiff’s emergency medical condition in

a timely manner, in violation of EMTALA.

          59.   YORK HOSPITAL failed to admit Plaintiff within a reasonable amount of time,

in violation of EMTALA.

          60.   YORK HOSPITAL failed to transfer Plaintiff to a primary stroke center capable

of treating her ongoing stroke symptoms in a timely manner that could have prevented another

stroke.

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         61.    As a direct and proximate result of YORK HOSPITAL’s violation of EMTALA,

Plaintiff has suffered damages.

         62.    YORK HOSPITAL’s conduct in violation of EMTALA was so outrageous that

malice may be implied.

         WHEREFORE, Plaintiff requests that the Court enter judgment in her favor and against

Defendant on Count I and order YORK HOSPTIAL to pay her compensatory and punitive

damages, together with interest, costs, reasonable attorneys’ fees, and such other and further

relief as the Court deems just and appropriate.

                                   JURY TRIAL DEMAND

         Plaintiff GELI WALLEY hereby demands a jury trial on all matters so triable under the

laws and Constitution of the United States and the State of Maine.




Dated:    March 22, 2018                     /s/ Laura H. White

                                             ____________________________
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